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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 THE ASSOCIATED PRESS,

 Plaintiff,                                       Civil Action No. 25-cv-532-TNM

 v.

 TAYLOR BUDOWICH, in his official
 capacity as White House Deputy Chief of
 Staff; KAROLINE LEAVITT, in her
 official capacity as White House Press
 Secretary; and SUSAN WILES, in her
 official capacity as White House Chief of
 Staff,

 Defendants.



                                   [PROPOSED] ORDER

On consideration of the Motion for Leave To File Brief of State Democracy Defenders Fund and
Former Public Officials as Amicus Curiae in Support of Plaintiff The Associated Press’s Motions
for Temporary Restraining Order and Preliminary Injunction, it is hereby ORDERED that the
motion is GRANTED.


Date: ____________________           ______________________ Hon. Trevor N. McFadden
